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 1                             IN THE UNITED STATES DISTRICT COURT

 2                            FOR THE WESTERN DISTRICT OF MICHIGAN

 3                                       SOUTHERN DIVISION

 4             CHRISTOPHER JEROME, ET AL.,

 5                    Plaintiffs,                  No.   1:16cv1116

 6              vs.

 7             JOEL FERGUSON, ET AL.,

 8                    Defendants.

 9
               Before:
10
                                     THE HONORABLE JANET NEFF,
11                                      U.S. District Judge
                                      Grand Rapids, Michigan
12                                      Friday, May 5, 2017
                                 Premotion Conference Proceedings
13
               APPEARANCES:
14
                            MR. MICHAEL A. COX
15                          The Mike Cox Law Firm, PLLC
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                            Livonia, MI 48152
17                          734-591-4002

18                                      On behalf of the Plaintiff;

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                            MS. ANDREA L. HANSEN
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                            Lansing, MI 48933
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23                                  On behalf of the Defendants Ferguson
               Development, Joel Ferguson, Christopher Stralkowski, and Red
24             Cedar Investor, LLC;

25
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 1
                            MR. MICHAEL S. BOGREN
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 5                          MR. JAMES SMIERTKA
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 8
                                        On behalf of the Defendant Bernero;
 9
                            MR. DEAN F. PACIFIC
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                                        On behalf of the Defendants LEAP, Robert
17             Trezise, Jr.;

18                          MR. PATRICK A. FACCA
                            Facca Richter & Pregler P.C.
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                            Troy, MI 48098
20                          248-398-9900

21                                  On behalf of the Defendants Clark
               Construction and Charles Clark.
22

23

24
               REPORTED BY:    Ms. Kathy Anderson, FCRR, RPR
25
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 1                                                 May 5, 2017

 2                                    PROCEEDINGS, 10:20 a.m.

 3                      THE LAW CLERK:     Court is now in session.       Please be

 4           seated.

 5                      THE COURT:    Good morning, everybody.

 6                      MR. COX:    Good morning, Your Honor.

 7                      THE COURT:    This is the date and time for a premotion

 8           conference in case number 1:16cv1116.         Whose phone is beeping?

 9           Thank you.    Jerome, et al. versus Ferguson, et al.         Would you

10           please put your appearances on the record for me, and as we did

11           at our last session, if you speak during the course of the

12           hearing, please repeat your name for the court reporter so she

13           doesn't have to figure out whose talking.

14                      MR. COX:    All right.    Good morning, Your Honor.

15           Michael Cox.    That's C-O-X.     I'm here on behalf of all three of

16           the plaintiffs:     Mr. Leo Jerome, Chris Jerome and the Story

17           Companies.

18                      THE COURT:    Thank you.

19                      MR. BOGREN:    Good morning, Your Honor.       Michael Bogren

20           on behalf of Mayor Bernero.

21                      MR. SMIERTKA:     Good morning, Your Honor.       Jim

22           Smiertka, Lansing City Attorney, co-counsel with Mr. Bogren on

23           behalf of Mayor Bernero.

24                      MR. FACCA:    Good morning, Your Honor.       Patrick Facca

25           on behalf of Clark Construction Services and Charles Clark.
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 1                      MR. OHLMS:    Good morning, Your Honor, Todd Ohlms,

 2           O-H-L-M-S, on behalf of Frank Kass, Continental Development,

 3           Hallmark Campus Communities, and Ferguson/Continental Lansing.

 4                      MS. HANSEN:    Andrea Hansen on behalf of Joel Ferguson,

 5           Christopher Stralkowski, Ferguson Development LLC, and Red

 6           Cedar Investor.

 7                      MR. PIRICH:    Good morning, Your Honor.       John Pirich on

 8           behalf of Joel Ferguson, Christopher Stralkowski, Ferguson

 9           Development, and Red Cedar Investor.

10                      MR. PACIFIC:     Your Honor, Dean Pacific on behalf of

11           Lansing Economic Area Partnership and Robert Trezise.

12                      THE COURT:    Okay.   One cautionary tale.      I forgot my

13           hearing aids this morning, so I need to have everybody speak a

14           little bit louder, please.

15                      We have requests by all defendants to file dispositive

16           motions under Rule 12(b)(6).       And I have a couple of -- I have

17           spent sometime trying to figure out the best way to organize

18           all of this in a way that makes for efficiency and that makes

19           it so that everybody isn't going off in 18 different

20           directions.    And so I have a couple of things I want to say

21           first of all, and then I'm going to ask some questions about

22           how to proceed from there.

23                      Based on your requests for, to proceed with a

24           dispositive motion under Rule 12, there are, if I -- and they

25           don't all speak in exactly the same vocabulary, but I
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 1           identified I think five different proposed issues to be raised

 2           by the defendants:     Standing, failure to state a claim, failure

 3           to meet the specific pleading requirements for a RICO

 4           conspiracy, failure to state a predicate act which I think is

 5           part of 3, failure to state or failure to identify protected

 6           property interests, which I think is probably the Fourteenth

 7           Amendment argument.

 8                      The complaint itself is in five counts, but Counts 1

 9           and 2 relate to the RICO claims, Count 3 is the Fourteenth

10           Amendment claim, and Counts 4 and 5 are the interference with,

11           tortious interference with a business expectancy.

12                      So we have sort of the convergence of five counts and

13           five arguments that would dismiss the case.

14                      Now, the first question that I have is of the

15           defendants.    I hope that you have talked with one another.           But

16           is there any chance of a unified brief?         And before you answer,

17           let me say that I believe that any brief that's written by a

18           committee is not very good.       So what I would propose, if there

19           is a chance of a unified brief, I would propose that you would

20           select a single drafter with the other, the other lawyers

21           having the opportunity obviously after the draft is submitted

22           to make comments, suggestions, and so forth.

23                      And I believe -- I know this is a little bit of a

24           reach, so let me just have your input.         I'm really interested

25           to know what your input is.       Let me just say one other thing.
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 1           I see the work product of lots and lots of lawyers and firms.

 2           And I can tell you honestly that the work product, the written

 3           work product I get from Warner, Norcross is always excellent.

 4           And I don't mean to say that I favor them in any way, but I do

 5           think that they have excellent drafters.         The work product from

 6           Plunkett Cooney is almost always good.         The work product from

 7           Honigman is almost always good.        I don't know the, is it Facca

 8           Richter?

 9                      MR. FACCA:    Facca Richter.

10                      THE COURT:    I don't know that firm.       And I don't know

11           the Chicago firm, Freeborn.       But I can say that of the three

12           firms with which I am very familiar, I think that the drafting

13           is always very good, and I just can't tell you how much I

14           appreciate and my law clerks appreciate good drafting.            So

15           weigh in, tell me what you think.        Am I sort of out there in

16           the la la land somewhere or is there any possibility --

17           Mr. Pirich.

18                      MR. PIRICH:    Your Honor, on behalf of Mr. Ferguson,

19           Stralkowski, and Ferguson Development, Red Cedar Investors, we

20           think that's a marvelous idea, especially since much of what we

21           have already written in this particular matter has a very

22           similar tone and similar vein, and we think that would be a

23           wonderful concept to save resources, costs associated with a

24           proceeding that's already been very costly.          And we would be

25           more than glad to either agree amongst ourselves or if the
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 1           Court wants to appoint one of us to do that to be the lead

 2           scribner; either proposal would be satisfactory for us.            Your

 3           Honor, I also apologize I'm having a hard time hearing without

 4           hearing aids.

 5                       THE COURT:    Okay.

 6                       MR. PIRICH:   Thank you.

 7                       THE COURT:    Fair enough.    Let me hear from a

 8           representative of the others, please, of the other law firms

 9           involved.

10                       MR. BOGREN:   Your Honor, Michael Bogren.        I think

11           that's a good idea for most of the issues.          I do think there

12           are some issues that are asserted against the other defendants,

13           particularly Counts 3 and 4, that are not, I'm sorry, 4 and 5

14           that are not asserted against Mayor Bernero, and then there is

15           also the due process claim asserted against Mayor Bernero that

16           aren't asserted against the others.        So the majority of it I

17           agree one brief would be appropriate, but I do think there is

18           at least a due process issue.       And I'm sure we can have input

19           and include it in the same brief, but that one issue is out

20           there that's not common to the other defendants.

21                       THE COURT:    Well, you know, I agree with that.           But I

22           think that my concept of it is that once the benchmark or the

23           template is drafted that that's where the additional commentary

24           and suggestions might come in.        And if I read you lawyers

25           correctly, and as I say I know some of you, I think that you're
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 1           good enough at what you do that you can collaborate once you

 2           have that sort of template in front of you to get your

 3           particular issues where they are unique before me.           So I think,

 4           I think that could work.

 5                      MR. BOGREN:    And that's fine, Your Honor.        We have no

 6           objection to that concept.

 7                      THE COURT:    Great.    Thank you.

 8                      MR. BOGREN:    Thank you.

 9                      MR. FACCA:    Patrick Facca, Your Honor, on behalf of

10           Clark Construction Services and Charles Clark.

11                      We have no objection.      We think it would be a good way

12           because our issues are the same issues everybody else has.             And

13           we have no objection to doing a unified brief.

14                      THE COURT:    Okay.

15                      MR. PACIFIC:     Dean Pacific, Your Honor.      I just wanted

16           to say that we certainly would be happy to participate in that

17           process.    As a procedural matter I guess I would say as we do

18           that, if we decide to do that, we would probably want a little

19           more time to coordinate among the various parties.           And we

20           would certainly be happy to take the role of sort of the

21           drafter or the consolidator, so to speak, whatever the proper

22           term would be.

23                      THE COURT:    Great.

24                      MR. OHLMS:    Todd Ohlms on behalf of defendants Frank

25           Kass, Continental Development, Hallmark Campus Communities and
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 1           Ferguson/Continental Lansing.       We often find ourselves in

 2           similar situations and we would be happy to cooperate.            I echo

 3           Mr. Pacific's point about the time that would be required to

 4           allow the coordination so the eventual work product submitted

 5           in court is up to par and represents everyone's collective

 6           thoughts.    I think with that we could easily do that.

 7                       THE COURT:    Here's what I would recommend then.          What

 8           I would do is extend the page numbers to 50 and give you, I

 9           don't know, Mr. Pacific, do you think 60 days is enough or 90?

10                       MR. PACIFIC:    Seems to be consensus that 60 would be

11           appropriate.

12                       THE COURT:    60 days, okay.    And then the plaintiff

13           will have 60 days, I'm sorry, will have 50 pages also, and I

14           think you're going to probably need a little bit of extra time

15           too, Mr. Cox, so I'll give you 60 days to respond.           And then

16           30 days for the defendants to reply.

17                       Now, I do want to make a comment to Mr. Cox on behalf

18           of the plaintiff.

19                       The plaintiff's brief must correspond to the

20           defendant's brief.       Do not go off on some separate tangent.

21           Follow the arguments as they are laid out and respond to them

22           as they are made in the plaintiff's brief.          If your brief does

23           not carefully and closely follow the defendant's brief, I'm

24           going to send it back.       I won't accept it.

25                       What else, Kathie?
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 1                   THE LAW CLERK:    The 50 pages includes the supplemental

 2       briefs or the supplemental briefing of individual --

 3                   THE COURT:    There's not going to be any supplemental

 4       briefing.    They are going to put it all in one.

 5                   THE LAW CLERK:    Okay.    That's inclusive of everything.

 6                   THE COURT:    Everything, that's everything, yes.

 7                   MR. BOGREN:    Your Honor, how long and length for the

 8       reply brief?

 9                   THE COURT:    Oh, good question.     35 pages.    Are there

10       any other questions or comments or concerns among counsel?

11       Mr. Cox?

12                   MR. COX:   No, Judge, I understand it completely.

13                   THE COURT:    Thank you.    Anybody?    Anything else,

14       Kathie, that we need to cover?

15                   THE LAW CLERK:    No.    To the extent that you can

16       coordinate on a joint statement of facts, plaintiff and

17       defendants, that's helpful.         Keep it short, in numbered

18       paragraphs.     There are some basic facts I know that upon which

19       you all agree.     And secondly, if there are any exhibits, make

20       them joint exhibits so that you all cite to the same exhibit

21       number.

22                   THE COURT:    Yes.   It is important so that we're all

23       talking about the same thing at the same time.           And I will ask

24       Warner, Norcross to be the lead author.          And don't let me down.

25       And if there's nothing further, Mr. Cox.
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 1                   MR. COX:   Judge, I have nothing.       Thank you.

 2                   THE COURT:    Anything further?

 3                   MR. BOGREN:    No, Your Honor.

 4                   MR. PIRICH:    No, Your Honor.

 5                   MR. FACCA:    No, Your Honor.

 6                   THE COURT:    Thank you.    We are adjourned.

 7                   THE LAW CLERK:    All rise, please.      Court is adjourned.

 8                   (Proceedings concluded, 10:35 a.m.)
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 1                                 REPORTER'S CERTIFICATE

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 3                I, Kathy J. Anderson, Official Court Reporter for the

 4         United States District Court for the Western District of

 5         Michigan, appointed pursuant to the provisions of Title 28,

 6         United States Code, Section 753, do hereby certify that the

 7         foregoing is a full, true and correct transcript of the

 8         proceedings had in the within entitled and numbered cause on

 9         the date hereinbefore set forth; and I do further certify that

10         the foregoing transcript has been prepared by me or under my

11         direction.

12

13

14                                  /s/ Kathy J. Anderson

15                                  Kathy J. Anderson, RPR, FCRR

16                                  U.S. District Court Reporter

17                                  412 Federal Building

18                                  Grand Rapids, Michigan      49503

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